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 BRowN & CoNNrnv, r,r-r
 Michael J. Miles, Esquire
 Arlette Leyba, Esquire
 360 Haddon Avenue
 Westmont, New Jersey 08108
 (856) 8s4-8900
 Attomeys for Defendant Chief Phil Olivo

                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY
                                CAMDENVICINAGE

  CHRISTIAN BENTON,                      Civil Action No. 1:24-cv-07098- KMW-MJS
  COALITION OF NEWJERSEY
  FIREARM OWNERS, GUN
  OWNERS OF AMEzuCA,INC.,
  and GtrN OWNERS
  FOL]NDATION,                                       CERTIFICATION OF
                                                     PHILIP P. OLIVO, III
                Plaintiffs,



  MATTHEW PLATKIN, in his                        Motion Date: October 21,2024
  official capacity as the Attomey
  General of New Jersey, and
  CHIEF PHIL OLNO, in his
  official capacity as the Police
  Chief of Pennsauken Township,

                Def-endants.

       I, Philip P. Olivo, III, of full age, hereby certifr as follows:

           1. I am the Chief of Police of the Pennsauken Township Police
 Department (the "Department"), and have personal knowledge of the facts set forth

 herein.
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          2.      In my capacity as Chief of Police, I am responsible for the issuance of

 Firearms Purchaser Identification Cards ("FID"), permits to purchase a handgun

 ("Purchase Permit"), and permits to carry a handgun ("Carry Permit") upon

 applications from qualified residents of Pennsauken Township.

          3.       On July 13,2024, Marloy Gonzalez applied for two Purchase Permits.

 Attached hereto as Exhibit A is a true and correct copy of the Application Overview

 report prepared by the Department with respect to the Applications.

          4.      On July 16,2024, Gonzalez paid the required fees for the Applications.

          5.      The investigation of the Applications was completed on September 24,

 2024, at which time the designated civilian employee submitted the completed

 application to me, with a recommendation for approval.

          6.      I approved both ofGonzalez's applications on September 26,2024.

          7.      There are no currently outstanding applications for Purchase Permits

 filed by Gonzalez.

         I hereby certifu the foregoing statements made by me are true. I am aware that

 if any of the foregoing statements made by me are willfully false, I may be subject

 to punishment.




 Date: October 15,2024
                                                                  Phil Olivo



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                             EXHIBIT A
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